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12   Plaintiffs’ Counsel

13

14                                        UNITED STATES DISTRICT COURT
15
                                     NORTHERN DISTRICT OF CALIFORNIA
16

17                                           SAN FRANCISCO DIVISION

18
     IN RE PACIFIC FERTILITY CENTER                Case No. 3:18-cv-01586-JSC
19
     LITIGATION
20                                                 [PROPOSED] ORDER GRANTING
     This Document Relates to:                     PLAINTIFFS’ ADMINISTRATIVE
21   Case No. 3:18-cv-01586                        MOTION TO FILE UNDER SEAL
     (A.B., C.D., E.F., G.H., and I.J.)
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28
                                [PROPOSED] ORDER GRANTING
                   PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
                                  CASE NO. 3:18-cv-01586-JSC
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 1          For good cause shown, the Court GRANTS Plaintiffs’ Administrative Motion to File Under

 2   Seal these documents:

 3                Portions of Plaintiffs’ Motion to Exclude Expert Testimony;

 4                Certain exhibits to the Declaration of Amy M. Zeman in Support of Plaintiffs’ Motion to

 5                 Exclude Expert Testimony, including

 6                          Exhibit 1 – Expert Report of Eldon Leaphart dated November 6, 2020;

 7                          Exhibit 2 – Excerpts from the November 18, 2020 deposition of Eldon Leaphart;

 8                          Exhibit 3 – Expert Report of John Cauthen dated November 6, 2020;

 9                          Exhibit 4 – Excerpts from the November 24, 2020 Deposition of John Cauthen

10                          Exhibit 5 – Supplemental Report of Grace Centola dated November 20, 2020;

11                          Exhibit 6 – Excerpts from the November 23, 2020 deposition of Grace Centola;

12                          Exhibit 7 – Supplemental Report of Franklin Miller dated November 20, 2020;

13                          Exhibit 8 – Excerpts from the December 1, 2020 Franklin Miller deposition;

14                          Exhibit 9 – Second Rebuttal Report of Franklin Miller dated December 11, 2020;

15                          Exhibit 10 – Expert Report of Angela Lawson dated December 4, 2020;

16                          Exhibit 11 – Excerpts from the December 11, 2020 deposition of Angela

17                           Lawson;

18                          Exhibit 13 – Bates-stamped document MSO005378 – MSO005380; and

19                          Exhibit 14 – Pacific MSO, LLC’s Response to Defendant Chart, Inc.’s Subpoena

20                           for 30(b)(6) Deposition by Written Questions, dated October 23, 2020; and

21                Portions of Plaintiffs’ Proposed Order to Exclude Expert Testimony.

22          The Court hereby ORDERS that the following portions of Plaintiffs’ Motion to Exclude Expert

23   Testimony are to be maintained under seal:

24                                            Page            Line(s)
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                       [PROPOSED] ORDER GRANTING
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 7          The Court hereby ORDERS that the following portions of the exhibits to the Declaration of
 8   Amy M. Zeman in Support of Plaintiffs’ Motion to Exclude Expert Testimony are to be maintained
 9   under seal:
                          Exhibit                 Page                    Line(s)
10
                            1               Under Seal in Full        Under Seal in Full
11                          2               Under Seal in Full        Under Seal in Full
                            3               Under Seal in Full        Under Seal in Full
12                          4               Under Seal in Full        Under Seal in Full
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19      The Court hereby ORDERS that the following portions of Plaintiffs’ Proposed Motion to Exclude
20   Expert Testimony are to be maintained under seal:
21                                          Page            Line(s)
22                                           1              7 – 22

23   IT IS SO ORDERED.
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25   Dated: ____________________                    ________________________________________
                                                    The Honorable Jacqueline Scott Corley
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28
                                [PROPOSED] ORDER GRANTING
                   PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
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 1                                     CERTIFICATE OF SERVICE

 2                 I hereby certify that on December 22, 2020, I electronically filed the foregoing

 3   document using the CM/ECF system, which will send notification of such filing to all counsel of

 4   record registered in the CM/ECF system. I also caused an unredacted copy of the foregoing document

 5   to be served via email on counsel of record.

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 7                                                                /s/ Amy M. Zeman

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                                [PROPOSED] ORDER GRANTING
                   PLAINTIFFS’ ADMINISTRATIVE MOTION TO FILE UNDER SEAL
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